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                           UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF FLORIDA
                              FORT LAUDERDALE DIVISION

In re:

TRANSPORTATION SPECIALIST GROUP, INC.                         Case No. 16-13048-RBR
                                                              Chapter 11
                  Debtor.
_____________________________________________/

                              NOTICE OF APPEARANCE AND
                            DEMAND FOR SERVICE OF PAPERS

          PLEASE TAKE NOTICE that Eric S. Golden and Jonathan M. Sykes of the firm of Burr

& Forman, LLP, 200 South Orange Avenue, Suite 800, Orlando, Florida 32801, files this Notice

of Appearance as counsel of record in this proceeding for World Business Lenders, LLC

(“Creditor”), creditor and party-in-interest.

          Pursuant to Florida Rules of Bankruptcy Procedure 9010(b) and Local Rule 1007-2 and

2002-1, the undersigned does hereby request and demand that the Clerk of this Court, and all

other parties-in-interest in this proceeding, provide notice of, and where applicable, service of,

any and all motions, applications, orders, pleadings, plans of reorganization, disclosure

statements, notices, or other communications filed in or pertaining to this proceeding to the

undersigned, whether such motion, application, order, pleading, plan, disclosure statement,

notice, or other communication is written or oral, formal or informal, by hand delivery, mail,

telephone, telex, telecopy, or made in any other manner whatsoever. The undersigned further

requests that the Clerk add him to the matrix in this case.

          By filing this Notice of Appearance, Eric S. Golden and Jonathan M. Sykes, Burr &

Forman, LLP, and/or Creditor, neither consent to nor waive (as applicable) any of the following:

(i) any objection they might have to the jurisdiction of the Bankruptcy Court to determine any

specific adversary proceeding or contested matter; (ii) that any specific adversary proceeding or


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contested matter is a core proceeding within the meaning of 27 U.S.C. § 157; (iii) that the

Bankruptcy Court may enter a final order or judgment in any non-core proceeding; (iv) any right

to jury trial to which they may otherwise be entitled pursuant to the United States Constitution or

other applicable law; or (v) that the Bankruptcy Court may conduct any jury trial to which

Creditor and party-in-interest may otherwise be entitled.

          Respectfully Submitted this 11th day of March, 2016.



                                              /s/ Jonathan M. Sykes
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                                              Attorneys for World Business Lenders, LLC

                                  CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the foregoing was
furnished via electronic mail using the Court's CM/ECF system or U.S. Mail on March 11, 2016
to: Stan Riskin, Esquire, 950 S. Pine Island Road. #A-150, Plantation, FL 33324
stan.riskin@gmail.com, Attorneys for Debtor; and Office of U.S. Trustee, 51 S. W. 1st Ave.,
Suite 1204, Miami, FL 33130.


                                              /s/ Jonathan M. Sykes
                                              Jonathan M. Sykes, Esquire




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